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  7
  8   Proposed Counsel for Jinzheng Group (USA) LLC
      Debtor and Debtor-in-Possession
  9
 10                          UNITED STATES BANKRUPTCY COURT

 11            CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 12
 13   In re                                             Case No. 2:21-bk-16674-ER

 14                                                     Chapter 11
      JINZHENG GROUP (USA) LLC
 15                                                     MOTION OF DEBTOR FOR ORDER
 16                                                     EXTENDING DEBTOR’S EXCLUSIVITY
                 Debtor and Debtor in Possession.       PERIOD TO FILE CHAPTER 11 PLAN
 17                                                     AND SOLICIT ACCEPTANCES
                                                        THERETO; MEMORANDUM OF POINTS
 18                                                     AND AUTHORITES; DECLARATIOON
                                                        OF MAX YANG IN SUPPORT THEREOF
 19
 20                                                     HEARING DATE:

 21                                                     Date:     January 4, 2022
                                                        Time:     10:00am
 22
                                                        Location: Ctrm 1568
 23                                                               255 E. Temple St.
                                                                     Los Angeles, CA 90012
 24
 25
              TO THE HONORABLE ERNEST M. ROBLES, U.S. BANKRUPTCY JUDGE,
 26
      OFFICE OF THE U.S. TRUSTEE, AND ALL PARTIES IN INTEREST:
 27
 28


                                                    1
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  1          Jinzheng Group (USA) LLC, the chapter 11 debtor and debtor-in -possession (hereafter
  2   “Debtor”), hereby submits this motion ("Motion") for an Order Extending Debtor's Exclusivity
  3   Periods to File Chapter 11 Plan and Solicit Acceptances Thereto (the "Motion") as follows:
  4                       MEMORANDUM OF POINTS AND AUTHORITIES
  5          Jinzheng Group (USA) LLC, the herein Chapter 11 Debtor and Debtor-in-Possession
  6   (“Debtor”) hereby moves this Court for an Order, pursuant to sections 105(a) and 1121(d) of Title
  7   11 of the United States Bankruptcy Code (the “Bankruptcy Code”), extending the period in which
  8   the Debtor has exclusive right to file a Chapter 11 plan (the “Exclusivity Period”) by 120 days,
  9   through and including April 21, 2022; and (b) further extending the period in which the Debtor has
 10   the exclusive right to solicit acceptance of the Chapter 11 plan (the “Exclusive Solicitation Period”
 11   and together with the Exclusivity Period, the Exclusive Periods”) by 149 days, through and
 12   including May 20, 2022. In support of this Motion, the Debtor respectfully represents as follows:
 13                                                        I.
 14                                        JURISDICTION AND VENUE
 15          This Court has original and exclusive jurisdiction over the Motion pursuant to 28 U.S.C.
 16   §§157 and 1334. Venue of this proceeding and the Motion is proper in this district pursuant to 28
 17   U.S.C §§1408 and 1409. This is a core proceeding under 28 U.S.C. § 157(b). As set forth herein,
 18   the statutory predicate for the relief sought in the Motion is section 1121 of the Bankruptcy Code.
 19                                                        II.
 20                                            FACTUAL SUMMARY
 21          Debtor commenced its reorganization by filing a voluntary petition for relief under chapter
 22   11 bankruptcy protection on August 24, 2021 (the “Petition Date”).
 23          The Debtor continues in possession of its assets and is operating and managing its business
 24   as debtor in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.
 25          From the Petition Date through December 6, 2021, there was little activity in this case
 26   other than the filing of necessary reports and compliance issues with the office of the US Trustee’s
 27   office. The filing bankruptcy counsel, never sought to be employed by the estate, nor have any
 28   other professionals been employed.


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  1           In the final week of November, new bankruptcy counsel was hired into the case. Shioda
  2   Langley & Chang LLP (hereafter “SLC”) filed its substitution of attorney and Application to be
  3   Employed on December 6, 20021. On December 7, 2021, the Court set a bar date for claims of
  4   February 4, 2022. The notice has been served on all creditors. Debtor is reviewing the claims as
  5   they come in.
  6           Debtor is owned by Jiaqing Yang. Debtor was registered in California on May 25, 2016.
  7   Jiaqing Yang currently resides in China and has not been to the United States since the global
  8   outbreak of Covid-19. Betty Zheng managed the Debtor on behalf of Jiaqing Yang. Debtor is a
  9   real estate development company.
 10           Debtor was very well capitalized and purchased the properties without the need for
 11   financing. The principal asset is multiple adjacent parcels of raw land in Los Angeles totally
 12   roughly 32 acres (collectively the “Los Angeles Properties”). The Los Angeles Properties were
 13   purchased between August 2016 and July of 2017 a little over 36 million dollars all of which was
 14   contributed by Jianqing Yang as a capital contribution into the Debtor. Jianqing Yang also
 15   contributed at least 2 properties personally owned by him to the Debtor.
 16           To develop the Los Angeles Properties, Debtor contracted with Betula Lenta, Inc.
 17   (hereafter “Betula”) in late 2017 to coordinate all the pre-development services including
 18   developing a master plan and obtaining City Entitlements. The original contract entered into on
 19   December 17, 2017 was for those services totaling $2,594,500.00. A subsequent contract was
 20   entered for a “phase 2” on June 22, 2018, for an additional $4,517,913.00. It appears that in order
 21   to pay for the second contract, Betula assisted Debtor in obtaining a short-term loan (18 months)
 22   with BOBS LLC incurred on September 4, 2018 and to be repaid by April 1, 2020. Once the Los
 23   Angeles Properties was entitled, the Debtor was to obtain a long-term construction loan. Debtor is
 24   still waiting for entitlements on the Los Angeles Properties as 2 years has turned into 4 years.
 25   Debtor is unaware at this time how much of an impact Covid-19 had in the delays. The delays
 26   have jeopardized all of the Debtor’s assets, since BOBS LLC was on the verge of foreclosure prior
 27   to the filing of this case.
 28


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  1          Concerned about the Chapter 11 case and the current economic situation of the Debtor,
  2   Jiaqing Yang appointed Max Yang as his attorney-in-fact and requested that he oversee the
  3   Chapter 11 case. No one was able to give Max Yang a straight answer on the financial affairs of
  4   the Debtor, or any details the Entitlement or the alleged refinancing efforts. Max Yang determined
  5   that it would be in the best interest of the Debtor to bring in experienced Bankruptcy Counsel into
  6   the case and retained SLC.
  7          SLC immediately sought to familiarize itself with the case but is unfortunately still at the
  8   early stages of ascertaining the facts and what led to the financial difficulties of the Debtor.
  9          As soon as SLC was hired into this case, it requested documents from Betty Zhang, the
 10   acting manager. She resigned her position shortly thereafter. SLC is in the process of filing a
 11   motion for a 2004 examination with Ms. Zhang.
 12          Michael Douglas Carlin was purportedly appointed as a Chief Restructuring Officer
 13   (“CRO”) to the Debtor. It is not clear when he was hired or what the terms of his employment
 14   were, and his employment has never been approved by the Court. Mr. Carlin has refused to answer
 15   any questions or provide any information to SLC until he is paid, even though SLC has taken the
 16   position that he cannot be compensated without approval of the court (a pre-requisite of which is
 17   disclosing the terms of his employment with the Court). On December 9, 2021, SLC filed for an
 18   order for a 2004 examination, which the Court entered on December 13, 2021. Debtor anticipates
 19   concluding Mr. Carlin’s examination within the next 30 days.
 20          The other party that is in possession of necessary information is Betula. Betula has been an
 21   active participant in the financial affairs of the Debtor, even serving as an officer of the Debtor.
 22   Betula was very involved in the events that led up to this Bankruptcy. The prior CEO of Betula,
 23   David Park, was the primary person seeking to obtain refinancing for the Debtor. On October 30,
 24   2021, Betula even committed to contribute $3,000,000 in exchange for an 8.5% of the Debtor.
 25   Betula failed to contribute the funds by the October 31st deadline.
 26          Debtor is now in contact with Betula’s attorney to coordinate timing for a 2004
 27   examination. Counsel for Betula has indicated that his client will cooperate with providing the
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  1   necessary information and documents to the Debtor. Debtor anticipates filing the request within
  2   the next few days.
  3          To preserve the equity and the assets of the Debtor, Debtor’s principal has committed to
  4   additional capital contributions to the extent necessary for operating expenses and to pay down the
  5   loan enough to obtain new financing to satisfy some of all of the secured lenders in this case.
  6          In addition to a new loan and the capital contribution of the principal, Debtor will bring in
  7   additional funds within the next three months through the sale of the real property located at 2240
  8   Lorain Road in San Marina, CA. Debtor anticipates filing a motion to employ a broker within the
  9   next week to sell the San Marino property.
 10          Debtor has received outside contributions to pay the property taxes on all the real property
 11   assets of the Debtor.
 12          The path forward for this Chapter 11 is simple. If it is practical to obtain the necessary
 13   entitlements to build, Debtor will do so. Once the entitlement is obtained Debtor will develop the
 14   Los Angeles Properties according to the approved plan. If it is not practical to obtain entitlements,
 15   Debtor will sell the Los Angeles Properties.
 16          The Debtor is currently in discussions with a broker to refinance the Properties so as to pay

 17   off BOBS LLC as soon as possible.
 18          A necessary element of the Debtor’s reorganization however is to determine any claims
 19   exists against third parties, or if the Debtor has rights to seek specific performance in connection
 20   with the entitlement process.
 21          Since new management and counsel has been hired, the Debtor is seeking an extension of
 22   time to be able to conduct an orderly reorganization. Debtor believe that this extension is

 23   necessary to preserve the value of the assets of the Debtor so that Creditor are able to be paid.
 24                                                    III.
 25                   FACTORING IN FAVOR OF COURT GRANTING MOTION
 26          Debtor seeks the entry of an Order, pursuant to sections 105(a) and 1121(d) of the
 27   Bankruptcy Code: (a) extending the Debtor’s Exclusivity Period by 120 days, through and
 28   including April 21, 2022, and (b) extending the Exclusive Solicitation Period by 149 days, through


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  1   and including May 20, 2022. The Debtor requests the extension of its Exclusive Periods without
  2   prejudice to the Debtor’s right to seek additional extensions of the Exclusive Periods for cause
  3   shown.
  4            This is the Debtor’s first request for an extension.
  5            Pursuant to Bankruptcy Code section 1121 and the computation provisions set forth in
  6   Federal Rule of Bankruptcy Procedure 9006(a), the Debtor’s Exclusivity Period will expire on
  7   December 22, 2021, unless extended by the Court.
  8            In turn, section 1121(d)(1) provides, in relevant part:
  9                   “[O]n request of a party in interest made within the respective periods in
 10            subsections (b) and (c) of this section and after notice and a hearing, the court may for

 11            cause reduce or increase the 120-day period or the 180-day period referred to in this
 12            section”
 13            Pursuant to section 1121(d)(d), however, the 120-day Exclusivity Period may not be
 14   extended beyond a date that is 18 months after the Petition Date and the 180-day Exclusive
 15   Solicitation Period may not be extended beyond a date this is 20 months after the Petition Date. 11
 16   U.S.C. §1121(d)(2). The Debtor has not requested an extension that exceeds these dates.

 17            Section 1121(d)(1) allows a court to extend the Exclusivity Period for “cause” shown.
 18   Although the Bankruptcy Code does not define the term “cause,” the legislative history indicates
 19   that that it is intended to be a flexible standard to balance the competing interests of a debtor and
 20   its creditors. See H.R. Rep. No. 95-595 at 231-232 (1978) printed in 1978 U.S.C.C.A.N. 5787
 21   (Congress intended to give bankruptcy courts flexibility to protect a debtor’s interest by allowing
 22   unimpeded opportunity to negotiate settlement of debts without interference from other parties in
 23   interest). This flexibility is intended to give a debtor an adequate opportunity to stabilize its
 24   business operations at the onset of its Chapter 11 case, restructure its operations and financial
 25   obligations, and negotiate a Chapter 11 plan with creditors. See In re Ames Dep’t Stores, Inc.,
 26   1991 WL 259036 (S.D.N.Y): In re Airport/Hotel L/P., 156 B.R. 444, 451 (Bankr. D.N. J.), aff’d
 27   155 B.R. 93 (D.N.J. 1993).
 28            The purpose of exclusivity is to “promote an environment in which the debtor’s business


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  1   may be rehabilitated and a consensual plan may be negotiated.” See, H.R. Rep. No. 95-959, at
  2   36(1994). The exclusivity periods provided by Congress were incorporated in the Bankruptcy
  3   Code to afford a debtor a full and fair opportunity to propose a consensual plan and solicit
  4   acceptances of such a plan without the deterioration and disruption of the debtor’s business that
  5   might be caused by the filing a competing plan by non-debtor parties. Indeed, the primary
  6   objective in a Chapter 11 case is the formulation, confirmation and consummation of a consensual
  7   Chapter 11 plan and it is the intention of the Debtor to achieve this objective. To allow Exclusivity
  8   to lapse at this stage in this Chapter 11 case is to defeat the very purpose of section 11 of the
  9   Bankruptcy Code.
 10          In determining whether cause exists to extend a debtor's exclusivity period, courts may

 11   consider a variety of factors, including whether: (I) the case is complicated; (2) the debtor is
 12   seeking a first extension; (3) the case has been pending for a long time, relative to its size and
 13   complexity; (4) the debtor appears to be proceeding in bad faith; (5) the debtor has improved
 14   operating expenses so that it is paying current expenses; (6) the debtor has shown a reasonable
 15   prospect for filing a viable plan; (7) the debtor is making satisfactory progress in negotiating with
 16   key creditors; (8) the debtor appears to be seeking an extension of exclusivity to pressure

 17   creditors; and (9) the debtor is depriving creditors of material or relevant information. See, In re
 18   Henry Mayo Newhall Memorial Hospital, 282 B.R. 444, 452 (B.A.P. 9th Cir 2002).
 19          No single factor is dispositive in determining whether to extend exclusivity; courts can
 20   choose to rely on only a few factors or even altogether differing factors. In re The Elder-Beerman
 21   Stores Corp., No. C-3-97-175, 1997 WL 1774880, at *4 (S.D. Ohio June 23, 1997). As the Ninth
 22   Circuit Appellate Panel in In re Henry Mayo held in granting the debtor's motion for an extension

 23   of the exclusivity period, the main factor is "whether adjustment of the exclusivity will facilitate
 24   moving the case forward toward a fair and equitable resolution." In re Henry Mayo, 82 B.R. at
 25   453; See also, In re Dow Corning Corp. 208 B.R. 661,670 (Bankr. E.D. Mich 1997).
 26          The Debtor's case is of the complexity that the courts have recognized as warranting an
 27   extension of Exclusivity. Nonetheless, the other eight factors (set forth below) which courts
 28   consider when ruling on a motion for extension of the Exclusivity Period are also met in this case.


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  1             The Exclusivity Period in this case should be extended is based upon the number of
  2   disputed and unliquidated claims in this case and the necessity of determining and/or estimating
  3   the claims. Other factors justifying the extension is the Debtor's improving cash flow, the fact that
  4   this is the first extension requested, and that this is a relatively new case.
  5             The claim bar date has been set for February 2, 2022, a date after the present exclusivity
  6   period expires, and Debtor will need additional time to assess and potential object to some of the
  7   claims.
  8             An extension of the exclusivity based on the claims issues in this case will facilitate
  9   moving the case forward toward a fair and equitable resolution. The most common basis upon
 10   which courts grant an extension of exclusivity periods is the complexity of the Chapter 11 case. In

 11   re Henry Mayo, supra. See, e.g. In re United Press Intern, Inc., 60. B.R 265, 270 (Bkrtcy.
 12   D.Dist.Col. 1986) (court granted extension of exclusive periods based on size and complexity of
 13   case); In re Express One Intern, Inc., 194 B.R. 98, I 00 (Birney E.D. Tex. 1996); In re Manville
 14   Forest Prods. Corp., 31 B.R. 991, 995 (S.D.N.Y. 1983). The complexity in this case involves a
 15   complete understand, and possible pursuit of case and the resolution of the claims.
 16             Regarding the second factor, only about three to four months have elapsed since the

 17   Petition Date, and this is only the Debtor's first request for an Extension of its Exclusive Periods.
 18   Furthermore, this request is within the timelines established under 1121(d)(2) (Exclusivity Period
 19   of 18 months; Exclusive Solicitation Period of 20 months).
 20             Regarding the third factor, the case has not been pending a long time, relative to its
 21   complexity. The case was filed on August 24, 2021. It is not uncommon for a bankruptcy court to
 22   grant a debtor's first request for an extension. See, In re Henry Mayo, supra at 322.

 23             Regarding the fourth factor, the Debtor is not proceeding in bad faith. Debtor has
 24   attempted to negotiate with creditors, it has filed the requisite schedules and statements with the
 25   Court; is in compliance with the Office of the United States Trustee, and is continuing in
 26   possession of its assets, and is operating and managing its business affairs as a debtor in
 27   possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.
 28             Regarding the fifth factor, the Debtor is paying its post-petition bills as they come due.


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  1           Regarding to the sixth factor, Debtor has shown a reasonable prospect for filing a plan.
  2           Regarding to the seventh factor, Debtor is open to negotiating with key creditors and will
  3   continue to seek compromise.
  4           Regarding the eighth factor, the Debtor is not seeking an extension of exclusivity in order
  5   to pressure creditors. Indeed, there are no facts present that would unduly prejudice the creditors.
  6   The facts, as well as the law set forth above establish that an extension is necessary for a fair and
  7   equitable resolution of this case.
  8           Regarding the ninth factor, the Debtor is not depriving the creditors of material or relevant

  9   information. Indeed, the Debtor has a policy of providing information to the creditors when properly

 10   requested.

 11           Finally, although the Debtor has substantially met all of the standards contained in the nine
 12   factors set forth above, it is not required that all factors be established in order for a motion
 13   seeking an extension of the exclusivity period to be granted. What is required-that adjustment of
 14   the exclusivity will facilitate moving the case forward toward a fair and equitable resolution - has
 15   been established.
 16           Under the circumstances, the Debtor does not believe any party would be prejudiced by the

 17   extension of the Debtor's Exclusive Periods. The Debtor has sufficient liquidity and is paying its
 18   bills as they become due in the ordinary course of business. Through prudent business decisions
 19   and cash management, the Debtor has sufficient resources to meet its required post-petition
 20   obligations and is managing its business affairs effectively and preserving the value of its assets
 21   for the benefit of creditors.
 22                                                             IV.

 23                                                     CONCLUSION
 24           Wherefore, the Debtor respectfully requests that the Court issue an order extending (a) the
 25   Exclusivity Periods through and including April 21, 2022, (b) and extending the Exclusive
 26   Solicitation Period through and including May 20, 2022 or such shorter time that the Court shall
 27   permit after considering all the facts and oppositions (if any), and that such extension be without
 28   prejudice to Debtor's ability to request additional extensions of time.


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  1
  2
  3                                        Respectfully Submitted,
  4

  5   Dated: December 13, 2021
                                            /s/Christopher J.Langley
  6                                       _____________________________________
                                          By: Christopher J. Langley
  7                                       Shioda, Langley & Chang LLP
  8                                       Proposed Attorneys for Debtor and Debtor in
                                          Possession
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  1                                  DECLARATION OF MAX YANG
  2          I, Max Yang, am the attorney in fact for Jianquing Yang, the managing member of Debtor
  3   and Debtor-in-Possession, Jinzheng Group (USA) LLC. I make this declaration in support of the
  4   Motion of Debtor For Order Extending Debtor’s Exclusivity Period To File Chapter 11 Plan And
  5   Solicit Acceptances Thereto which this declaration is attached to.
  6          1.      Debtor commenced its reorganization by filing a voluntary petition for relief under
  7   chapter 11 bankruptcy on August 24, 2021.
  8          2.      The Debtor continues in possession of its assets and is operating and managing its
  9   business as debtor in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.
 10          3.      From the Petition Date through December 6, 2021, there was little activity in this
 11   case. I believe that all necessary reports were filed, and that Debtor is in compliance with the
 12   office of the US Trustee. There have not been any professionals employed by the Estate to my
 13   knowledge.
 14          4.      In the final week of November, I reach out to and hired the office of Shioda
 15   Langley & Chang LLP (“SLC”) to replace the filing attorney in this case. SLC filed its
 16   substitution of attorney and Application to be Employed on December 6, 20021.

 17          5.       On December 7, 2021, the Court set a bar date for claims of February 4, 2022. The
 18   notice has been served on all creditors. Debtor is reviewing the claims as they come in.
 19          6.      Debtor is a real estate development company owned by Jiaqing Yang. Debtor was
 20   registered in California on May 25, 2016. Jiaqing Yang currently resides in China and has not
 21   been to the United States since the global outbreak of Covid-19. Betty Zheng managed the Debtor
 22   on behalf of Jiaqing Yang. Debtor was very well capitalized and purchased the properties without

 23   the need for financing. The principal asset is multiple adjacent parcels of raw land in Los Angeles
 24   totally roughly 32 acres (collectively the “Los Angeles Properties”). The Los Angeles Properties
 25   were purchased between August 2016 and July of 2017 a little over 36 million dollars all of which
 26   was contributed by Jianqing Yang as a capital contribution into the Debtor. Jianqing Yang also
 27   contributed at least 2 properties personally owned by him to the Debtor.
 28          7.      To develop the Los Angeles Properties, Debtor contracted with Betula Lenta, Inc.


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  1   (hereafter “Betula”) in late 2017 to coordinate all the pre-development services including
  2   developing a master plan and obtaining City Entitlements. The original contract seems to have
  3   been entered into on December 17, 2017 was for those services totaling $2,594,500.00. A
  4   subsequent contract was entered for a “phase 2” on June 22, 2018, for an additional
  5   $4,517,913.00. In order to pay for the second contract, I believe that Betula assisted the Debtor in
  6   obtaining a short-term loan (18 months) with BOBS LLC which was incurred on September 4,
  7   2018, and to be repaid by April 1, 2020. Once the Los Angeles Properties was entitled, the Debtor
  8   was to obtain a long-term construction loan. Debtor is still waiting for entitlements on the Los
  9   Angeles Properties as 2 years has turned into 4 years. Debtor is unaware at this time how much of
 10   an impact Covid-19 had in the delays. The delays have jeopardized all of Debtor’s assets, since

 11   BOBS LLC was on the verge of foreclosure prior to the filing of this case.
 12           8.      Concerned about the Chapter 11 case and the current economic situation of the
 13   Debtor, Jiaqing Yang appointed me as his attorney-in-fact and requested that he oversee the
 14   Chapter 11 case. No one was able to give me a straight answer on the financial affairs of the
 15   Debtor, or any details the Entitlement or the alleged refinancing efforts. I determined that it would
 16   be in the best interest of the Debtor to bring in experienced Bankruptcy Counsel into the case and

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 18           9.      SLC and I immediately sought to familiarize ourselves with the case, but we are
 19   still at the early stages of ascertaining the facts and what led to the financial difficulties of the
 20   Debtor.
 21           10.     As soon as SLC was hired into this case, it requested documents from Betty Zhang,
 22   the acting manager. She resigned her position shortly thereafter. I understand that SLC is in the
 23   process of filing a motion for a 2004 examination with Ms. Zhang.
 24           11.     Michael Douglas Carlin was purportedly appointed as a Chief Restructuring
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 26   employment were, and his employment has never been approved by the Court. Mr. Carlin has
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  1   requisite of which is disclosing the terms of his employment with the Court). On December 9,
  2   2021, SLC filed for an order for a 2004 examination, which the Court entered on December 13,
  3   2021. Debtor anticipates concluding Mr. Carlin’s examination within the next 30 days.
  4           12.    The other party that is in possession of necessary information is Betula. Betula has
  5   been an active participant in the financial affairs of the Debtor, even serving as an officer of the
  6   Debtor. Betula was very involved in the events that led up to this Bankruptcy. I believe that the
  7   prior CEO of Betula, David Park, was the primary person seeking to obtain refinancing for the
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  9   8.5% of the Debtor. Betula failed to contribute the funds by the October 31st deadline.
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 18           15.    In addition to a new loan and the capital contribution of the principal, Debtor will
 19   bring in additional funds within the next three months through the sale of the real property located
 20   at 2240 Lorain Road in San Marina, CA. Debtor anticipates filing a motion to employ a broker
 21   within the next week to sell the San Marino property.
 22           16.    Debtor has received outside contributions to pay the property taxes on all the real

 23   property assets of the Debtor.
 24           17.    If it is practical to obtain the necessary entitlements to build, Debtor will do so.
 25   Once the entitlement is obtained Debtor will develop the Los Angeles Properties according to the
 26   approved plan. If it is not practical to obtain entitlements, Debtor will sell the Los Angeles
 27   Properties.
 28           18.    The Debtor is currently in discussions with a broker to refinance the Properties so


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  1
  2                                     PROOF OF SERVICE OF DOCUMENT

  3   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 4158 14th Street, Riverside, CA 92501
  4
      A true and correct copy of the foregoing document entitled (specify): MOTION OF DEBTOR FOR ORDER
  5   EXTENDING DEBTOR’S EXCLUSIVITY PERIOD TO FILE CHAPTER 11 PLAN AND SOLICIT
      ACCEPTANCES THERETO; MEMORANDUM OF POINTS AND AUTHORITES; DECLARATIOON OF
  6   MAX YANG IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the
      form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
  7
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  8   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On (date) December 13, 2021, I checked the CM/ECF docket for this
  9   bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic
      Mail Notice List to receive NEF transmission at the email addresses stated below:
 10
      Michael F Chekian mike@cheklaw.com, chekianmr84018@notify.bestcase.com
      Susan Titus Collins scollins@counsel.lacounty.gov
 11
      Richard Girgado rgirgado@counsel.lacounty.gov
      M. Jonathan Hayes jhayes@rhmfirm.com,
 12   roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;russ@rhmf
      irm.com;david@rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario@rhmfirm.com
 13   Christopher J Langley chris@slclawoffice.com,
      omar@slclawoffice.com;langleycr75251@notify.bestcase.com
 14   Benjamin R Levinson ben@benlevinsonlaw.com, courtney@benlevinsonlaw.com
      Eric A Mitnick MitnickLaw@aol.com, mitnicklaw@gmail.com
 15   Giovanni Orantes go@gobklaw.com, gorantes@orantes-
      law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify.
 16   bestcase.com
      Matthew D. Resnik matt@rhmfirm.com,
 17   roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rh
      mfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sl
 18   oan@rhmfirm.com
      Allan D Sarver ADS@asarverlaw.com
 19   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
      Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov
 20                                               Service information continued on attached page

 21   2. SERVED BY UNITED STATES MAIL:
      On (date) December 13, 2021, I served the following persons and/or entities at the last known addresses in
 22   this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
      envelope in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge
 23   here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
 24
      Honorable Ernest M. Robles
      Edward R. Roybal Federal Building and Courthouse
 25
      255 E. Temple Street, Suite 1560 / Courtroom 1568
      Los Angeles, CA 90012
 26
                                                        Service information continued on attached page
 27
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
 28   (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      (date) December 13, 2021, I served the following persons and/or entities by personal delivery, overnight

                                                           15
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      mail service, or (for those who consented in writing to such service method), by facsimile transmission
  1   and/or email as follows: Listing the judge here constitutes a declaration that personal delivery on, or
      overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
  2
  3                                                       Service information continued on attached page

  4   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  5     December 13, 2021                 John Martinez                      /s/John Martinez
        Date                      Printed Name                               Signature
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                Case 2:21-bk-16674-ER   Doc 61 Filed 12/13/21 Entered 12/13/21 19:59:13 Desc
Label Matrix for local noticing         ChekianDocument
                                        Main    Law Office, Inc. Page 17 of 19 Employment Development Dept.
0973-2                                  Chekian Law Office, Inc.                        Bankruptcy Group MIC 92E
Case 2:21-bk-16674-ER                   445 South Figueroa Street                       P.O. Box 826880
Central District of California          31st Floor                                      Sacramento, CA 94280-0001
Los Angeles                             Los Angeles, CA 90071-1635
Mon Dec 13 16:43:45 PST 2021
Franchise Tax Board                     Internal Revenue Service                        Investment Management Company LLC
Bankruptcy Section MS: A-340            PO Box 7346                                     Law Offices Allan Sarver
P.O. Box 2952                           Philadelphia, PA 19101-7346                     16000 Ventura Blvd
Sacramento, CA 95812-2952                                                               Suite 1000
                                                                                        Encino, CA 91436-2762

JINZHENG GROUP (USA) LLC                (p)LOS ANGELES COUNTY TREASURER AND TAX COLLE   (p)OFFICE OF FINANCE CITY OF LOS ANGELES
100 E. Huntington Drive                 ATTN BANKRUPTCY UNIT                            200 N SPRING ST RM 101 CITY HALL
Ste. 207                                PO BOX 54110                                    LOS ANGELES CA 90012-3224
Alhambra, CA 91801-1022                 LOS ANGELES CA 90054-0110


Orantes Law Firm, P.C.                  Securities & Exchange Commission                Los Angeles Division
The Orantes Law Firm, P.C.              444 South Flower St., Suite 900                 255 East Temple Street,
3435 Wilshire Blvd., suite 2920         Los Angeles, CA 90071-2934                      Los Angeles, CA 90012-3332
los angeles, CA 90010-2015


Accutax Services                        American Modern Insurance                       BOBS LLC
9040 Telstar Ave Ste 105                7000 Midland Blvd                               Attn: Barry Shy
El Monte CA 91731-2838                  Amelia OH 45102-2608                            7525 Avalon Bay St
                                                                                        Las Vegas, NV 89139-5307


Bamboo Insurance                        Best Alliance                                   Betula Lenta, Inc.
7050 Union Park Center Ste 400B         16133 Ventura Blvd.                             800 W. 6th Street
Midvale UT 84047-6055                   Suite 700                                       Suite 1250-B
                                        Encino, CA 91436-2406                           Los Angeles, CA 90017-2704


Build Group Construction Co             California American Water                       Corona Capital Group, LLC
700 Flower St 575                       8657 Grand Ave                                  1222 Crenshaw Blvd.
Los Angeles CA 90017-4122               Rosemead CA 91770-1220                          #B
                                                                                        Torrance, CA 90501-2496


Craig Fry & Associates                  David S Zu                                      Donna Bullock
990 S. Arroya Pkwy, #4                  100 N Citrus St Ste 330                         Attorney at Law
Pasadena, CA 91105-3920                 West Covina CA 91791-1674                       800 W 6th St
                                                                                        Suite 1250
                                                                                        Los Angeles, CA 90017-2721

EFI Global                              Franchise Tax Board Chief Counsel               Griffin Underwriters
5261 W Imperial Hwy                     c/o General Counsel Section                     PO Box 3867
Los Angeles CA 90045-6231               P.O. Box 720, MS: A-260                         Bellevue WA 98009-3867
                                        Rancho Cordova, CA 95741-1720


Home Loans Unlimited                    Investment Management Company                   Jade Capital
28859 Phantom Trail                     1507 7th Street, #344                           333 Thornall St Ste 101
Santa Clarita, CA 91390-5295            Santa Monica, CA 90401-2605                     Edison NJ 08837-2220
                Case 2:21-bk-16674-ER               Doc 61 Filed 12/13/21 Entered 12/13/21 19:59:13 Desc
Jianqing Yang                                       LA CityDocument
                                                    Main    Treasurer and Tax Page
                                                                              Collector18 of 19 Land Design Consultants
PO Box 3702                                          255 N Hill St 1st Fl                                 800 Royal Oaks Drive
Alhambra CA 91803-0702                               Los Angeles CA 90012-2705                            Suite 104
                                                                                                          Monrovia, CA 91016-6364


Law Offices of Matthew C. Mullhofer                  Los Angeles Treasurer Tax Collector                  Marc Cohen
2107 N. Broadway                                     P.O. Box 54018                                       Cohen Law Group, APC
Suite 103                                            Los Angeles, CA 90054-0018                           541 S. Spring Street
Santa Ana, CA 92706-2633                                                                                  Ste. 1208
                                                                                                          Los Angeles, CA 90013-1667

Michael E. Dorff and Shari L. Dorff                  Office of the United States Trustee                  Overland Traffic Consultants
3239 Bordero Lane                                    915 Wilshire Blvd.                                   952 Manhattan Beach Blvd 100
Thousand Oaks, CA 91362-4659                         Los Angeles, CA 90017-3409                           Manhattan Beach CA 90266-5112



Pacific Geotech Inc                                  Pacific Mortgae Exchange, Inc.                       Pennington Construction Advisors Inc
Attn Jirayus Pukkansasut                             73241 Hwy. 111, Ste. 1-A                             Attn Todd Pennington
15038 Clark Ave                                      Palm Desert, CA 92260-3921                           79 Bell Pasture Rd
Hacienda Heights CA 91745-1408                                                                            Ladera Ranch CA 92694-1558


Phalanx                                              (p)ROYAL BUSINESS BANK                               Royalty Equity Lending LLC
424 E. 15th Street                                   1055 WILSHIRE BLVD SUITE 1220                        600 S. Spring Street
Suite 10                                             LOS ANGELES CA 90017-3103                            Suite 106
Los Angeles, CA 90015-3140                                                                                Los Angeles, CA 90014-1979


Shawn Charles Sourgose                               State Farm Insurance                                 Testa Capital Group
24730 Avenue Tibbits                                 PO Box 588002                                        620 Newport Center Drive
#180                                                 North Metro GA 30029-8002                            Suite 1100
Valencia, CA 91355-4768                                                                                   Newport Beach, CA 92660-8011


The Alison Company                                   The Code Solution, Inc.                              The Phallanx Group
2060 D Avenida De Los Arboles                        800 W. 6th Street                                    424 E 15th St Ste 10
#471                                                 Suite 1250 A                                         Los Angeles CA 90015-3140
Thousand Oaks, CA 91362-1376                         Los Angeles, CA 90017-2721


UltraSystems Environmental                           United States Trustee (LA)                           Yepez Gardening Services
Attn Hassan Ayati                                    915 Wilshire Blvd, Suite 1850                        2121 N Marengo Ave
16431 Scientific Way                                 Los Angeles, CA 90017-3560                           Pasadena CA 91001
Irvine, CA 92618-4355


Christopher J Langley
Shioda, Langley & Chang LLP
4158 14th St.
Riverside, CA 92501-3426




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
                  Case 2:21-bk-16674-ER              Doc 61 Filed 12/13/21 Entered 12/13/21 19:59:13 Desc
L.A. County Tax Collector                            Los Angeles
                                                     Main        City Clerk Page 19 of 19
                                                            Document                      (d)Los Angeles County Tax Collector
Bankruptcy Unit                                       P.O. Box 53200                                       225 N. Hill Street, #1
P.O. Box 54110                                        Los Angeles, CA 90053-0200                           Los Angeles, CA 90012
Los Angeles, CA 90051-0110


(d)Los Angeles County Tax Collector                   (d)Los Angeles County Treasurer and Tax Colle        Royal Business Bank
P.O. Box 54018                                        Attn: Bankruptcy Unit                                1055 Wilshire Blvd.
Los Angeles, CA 90054-0018                            PO Box 54110                                         Suite 1220
                                                      Los Angeles, CA 90054-0110                           Los Angeles, CA 90017




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Courtesy NEF                                       (u)Michael E. Dorff and Shari L. Dorff               (d)Employment Development Department
                                                                                                           Bankruptcy Group MIC 92E
                                                                                                           P.O. Box 826880
                                                                                                           Sacramento, CA 94280-0001


(d)Franchise Tax Board                                (d)Home Loans Unlimited, Inc.                        (d)Internal Revenue Service
Bankruptcy Section, MS:A-340                          28859 Phantom Trail                                  P.O. Box 7346
P.O. Box 2952                                         Santa Clarita, CA 91390-5295                         Philadelphia, PA 19101-7346
Sacramento, CA 95812-2952


(u)Ji Anqi Ngyang                                     (d)Jinzheng Group (USA) LLC                          End of Label Matrix
66 Yuhua West Rd                                      100 E. Huntington Dr. Ste 207                        Mailable recipients      54
Shi Ji Azhuang Hebei Province 050000 Chi              Alhambra, CA 91801-1022                              Bypassed recipients       8
                                                                                                           Total                    62
